                         FILED
                  U.S. District Court
                Northern District of Iowa


 7/6/05                    By:        s/src
     Copies mailed/faxed to counsel of record, pro se
                         parties
                 and others listed here:

CERT COPIES TO USM - USP - AUSA -
CR FINANCIAL




               Case 5:04-cr-04011-LTS-KEM               Document 71   Filed 07/06/05   Page 1 of 8
Case 5:04-cr-04011-LTS-KEM   Document 71   Filed 07/06/05   Page 2 of 8
Case 5:04-cr-04011-LTS-KEM   Document 71   Filed 07/06/05   Page 3 of 8
Case 5:04-cr-04011-LTS-KEM   Document 71   Filed 07/06/05   Page 4 of 8
Case 5:04-cr-04011-LTS-KEM   Document 71   Filed 07/06/05   Page 5 of 8
Case 5:04-cr-04011-LTS-KEM   Document 71   Filed 07/06/05   Page 6 of 8
Case 5:04-cr-04011-LTS-KEM   Document 71   Filed 07/06/05   Page 7 of 8
Case 5:04-cr-04011-LTS-KEM   Document 71   Filed 07/06/05   Page 8 of 8
